       Case 4:20-cv-00733 Document 2 Filed on 03/02/20 in TXSD Page 1 of 2
                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                         UNITED STATES DISTRICT COURT                                March 02, 2020
                          SOUTHERN DISTRICT OF TEXAS                               David J. Bradley, Clerk
                              HOUSTON DIVISION


HARRIS COUNTY, TEXAS                            §
  Plaintiff,                                    §
                                                §
v.                                              §     CIVIL ACTION NO. 4:20−cv−00733
                                                §
Teva Pharmaceuticals USA, Inc., et al.          §
  Defendant.                                    §

                       ORDER FOR PRETRIAL CONFERENCE


1.   Counsel shall appear at an initial pretrial and scheduling conference before


                                    Honorable Nancy F. Atlas
                                   April 20, 2020 at 11:30 AM
                                    Courtroom 9F (9th Floor)
                                    United States Courthouse
                                         515 Rusk Street
                                      Houston, TX 77002.

2.   Counsel shall file within fourteen (14) days from receipt of this Order a certificate
     with the Clerk listing all persons, associations of persons, firms, partnerships,
     corporations, affiliates, parent corporations, or other legal entities that are financially
     interested in the outcome of this litigation. If a large group can be specified by a
     general description, individual listing is not necessary. Underline the name of each
     corporation whose securities are publicly traded. If new parties are added or if
     additional persons or legal entities that are financially interested in the outcome of the
     litigation are identified at any time during the pendency of this litigation, then each
     counsel shall promptly file an amended certificate with the Clerk.

3.   After the parties meet as required by Fed. R. Civ. P. 26(f), counsel shall prepare and
     file not less than seven (7) days before the conference a joint discovery/case
     management plan containing the information required by Fed. R. Civ. P. 26(f), as
     amended December 1, 2010. The conference will be conducted in accordance with
     Fed. R. Civ. P. 16. NOTE: Counsel must deliver to Chambers courtesy copies of all
     documents filed within three (3) business days of the conference. All such copies must
     be marked "FOR PRETRIAL CONFERENCE."
       Case 4:20-cv-00733 Document 2 Filed on 03/02/20 in TXSD Page 2 of 2



4.   Each party shall appear at the conference by an attorney with (a) full knowledge of the
     case and (b) authority to bind the client. See Local Rule 8. The Court will prepare a
     docket control order at the pretrial conference. See Court's Procedures, available on
     the Southern District of Texas website at http://www.txs.uscourts.gov.

     Counsel should be prepared to argue all pending motions at the conference. The Court
     may rule on same at that time.

5.   Counsel who file or remove an action must serve a copy of this Order and a copy of
     this Court's Procedures with the summons and complaint or with the notice of
     removal. In addition, in all removed cases, counsel for the removing party(ies) must
     file with the Court at least seven (7) days before the Conference the "certificate of
     service in a removed action."

6.   Counsel must discuss with their clients and opposing counsel how electronically
     stored information will be produced in discovery and when alternative dispute
     resolution procedure will be appropriate in this case, and shall advise the Court of the
     results of these discussions at the conference.

7.   Discovery may be conducted prior to the Initial Pretrial Conference if all named
     defendants have answered.

8.   For the convenience of out−of−town counsel, the Court will allow participation by
     telephone if requested by letter to the Court's case manager in writing by email at least
     a week in advance of the conference date. The case manager will respond to the email
     with further instructions.

9.   Failure to comply with this Order may result in sanctions, including dismissal of the
     action and/or assessment of fees and costs.

                                                                        It is SO ORDERED.
